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 1   CLEMENTE M. JIMÉNEZ, ESQ.
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 2
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 4
 5   Attorney for JAMES BRADLEY
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                       Case No.: 2:12-cr-080 TLN

11                    Plaintiff,                     STIPULATION AND ORDER
12                                                   VACATING DATE, CONTINUING
                vs.                                  CASE, AND EXCLUDING TIME
13
14   JAMES BRADLEY,                                  DATE: May 12, 2016
                                                     TIME: 9:30 a.m.
15                    Defendants.                    JUDGE: Hon. Troy L. Nunley
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Heiko Coppola, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for
19   Defendant JAMES BRADLEY, that the status conference scheduled for May 12, 2016, at
20   9:30 a.m., be vacated and the matter continued to this Court’s criminal calendar on June
21   30, 2016, at 9:30 a.m. for further status conference and anticipated change of plea.
22   Following receipt of a revised plea agreement, additional issues have arisen that require
23   resolution prior to proceeding with resolution. The parties require additional time to
24   resolve said matters and expect to set trial dates at the next court date if the matter does
25   not resolve. IT IS FURTHER STIPULATED that time within which the trial of this case
26   must be commenced under the Speedy Trial Act, 18 U.S.C. Section 3161 et seq. be
27   excluded from computation of time pursuant to Section 3161(h)(7)(A) and (B)(iv), (Local
28   code T-4), and that the ends of justice served in granting the continuance and allowing




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 1   the defendant further time to prepare outweigh the best interests of the public and the
 2   defendant to a speedy trial.
 3
 4   DATED:           May 10, 2016               /S/   Heiko Coppola______________
                                                 BENJAMIN B. WAGNER
 5
                                                 by HEIKO COPPOLA
 6                                               Attorney for Plaintiff
 7
 8                                               /S/   Clemente M. Jiménez________
                                                 CLEMENTE M. JIMÉNEZ
 9                                               Attorney for James Bradley
10
11
12
13                                              ORDER
14
                IT IS SO ORDERED, that the status conference in the above-entitled matter,
15
     scheduled for May 12, 2016, at 9:30 a.m., be vacated and the matter continued to June 30,
16
     2016, at 9:30 a.m., for further status conference and change of plea. The Court finds that
17
     time under the Speedy Trial Act shall be excluded through that date in order to afford
18
     counsel reasonable time to prepare. Based on the parties’ representations, the Court finds
19
     that the ends of justice served by granting a continuance outweigh the best interests of the
20
     public and the defendants to a speedy trial.
21
22   This 10th day of May, 2016.
23
                                                           Troy L. Nunley
24                                                         United States District Judge
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26
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     05/10/16
